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                      United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                           ____________
No. 18-5093                                                      September Term, 2017
                                                                            1:17-cv-02122-TSC
                                                            Filed On: June 4, 2018
Rochelle Garza, As guardian ad litem to
unaccompanied minor J.D., on behalf of
herself and others similarly situated, et al.,

                  Appellees

         v.

Alex Michael Azar, II, Secretary, Health and
Human Services, et al.,

                  Appellants


------------------------------

Consolidated with 18-8003


         BEFORE:           Rogers,* Griffith,*** and Srinivasan,** Circuit Judges

                                              ORDER

        Upon consideration of the motion for stay pending appeal, the opposition thereto,
and the reply; the letter filed on April 10, 2018; the petition for leave to file an
interlocutory appeal pursuant to Federal Rule of Civil Procedure 23(f); and the Rule
28(j) letters, it is

        ORDERED that the petition for leave to appeal be denied. Appellants have not
shown that the district court’s class certification decision is “manifestly erroneous.” In re
Lorazepam & Clorazepate Antitrust Litig., 289 F.3d 98, 105 (D.C. Cir. 2002). This court
nevertheless has jurisdiction to review the merits of the district court’s class certification
decision because, as both parties agree, the decision is “inextricably bound up” with the
district court’s preliminary injunction order, Wagner v. Taylor, 836 F.2d 578, 586 (D.C.
Cir. 1987) (internal quotation marks omitted), which this court has jurisdiction to review
pursuant to 28 U.S.C. § 1292(a)(1). It is
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                  United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 18-5093                                                September Term, 2017

        FURTHER ORDERED that the motion to stay the March 30, 2018, order be
granted in part and denied in part. The notice of appeal that was filed in connection
with the district court’s March 30, 2018, order granting a preliminary injunction conferred
jurisdiction in the court of appeals “‘over those aspects of the case involved in the
appeal.’” United States v. DeFries, 129 F.3d 1293, 1302 (D.C. Cir. 1997) (per curiam)
(quoting Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982) (per curiam)).
Accordingly, the motion is granted to the extent that the March 30, 2018, preliminary
injunction’s non-disclosure provision does not contain an exception for instances when
a class member provides non-coerced consent to disclosure or when the class member
needs emergency medical care and is incapacitated such that she is unable to inform a
medical care provider herself. The motion for stay is denied in all other respects
because appellants have not satisfied the stringent requirements for a stay pending
appeal. See Nken v. Holder, 556 U.S. 418, 434 (2009); D.C. Circuit Handbook of
Practice and Internal Procedures 33 (2018). It is

       FURTHER ORDERED that the following briefing schedule will apply:

       Appellants’ Brief                  July 2, 2018

       Appendix                           July 2, 2018

       Appellees’ Brief                   July 30, 2018

       Appellants’ Reply Brief            August 9, 2018

      The Clerk is directed to calendar this case for oral argument on the first
appropriate date in September 2018. The parties will be notified separately of the oral
argument date and composition of the merits panel.

       All issues and arguments must be raised by appellants in the opening brief. The
court ordinarily will not consider issues and arguments raised for the first time in the
reply brief.

       To enhance the clarity of their briefs, the parties are urged to limit the use of
abbreviations, including acronyms. While acronyms may be used for entities and
statutes with widely recognized initials, briefs should not contain acronyms that are not



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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
No. 18-5093                                                 September Term, 2017

widely known. See D.C. Circuit Handbook of Practice and Internal Procedures 41
(2018); Notice Regarding Use of Acronyms (D.C. Cir. Jan. 26, 2010).

       The parties are directed to hand-deliver the paper copies of their briefs and the
appendix to the Clerk’s office on the date due. All briefs and appendices must contain
the date that the case is scheduled for oral argument at the top of the cover. See D.C.
Cir. Rule 28(a)(8).

       Pursuant to D.C. Circuit Rule 36, the disposition of No. 18-8003 will not be
published. Because no appeal has been allowed in No. 18-8003, no mandate will
issue. The Clerk is directed to transmit a certified copy of this order to the district court.

                                        Per Curiam

                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                  By:     /s/
                                                          Laura Chipley
                                                          Deputy Clerk


* A statement by Circuit Judge Rogers, concurring in the disposition of the motion for
stay, is attached to this order.

** A statement by Circuit Judge Srinivasan, concurring in the disposition of the motion
for stay, is attached to this order.

*** A statement by Circuit Judge Griffith, dissenting in part from the partial denial of the
motion for stay, is attached to this order.




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        ROGERS, Circuit Judge, concurring: Surprisingly, our colleague in partial dissent
concludes that the district court’s injunction of March 30, 2018, is overbroad because it conflicts
with Supreme Court precedent on post-viability abortions. See Partial Dis. at 2–3 (Griffith, J.).
This conclusion is unfounded. Any question about the scope of the district court’s injunction is
resolved by the nature of the underlying action and the memorandum opinion accompanying the
injunction. See Common Cause v. Nucl. Reg. Comm’n, 674 F.2d 921, 927 (D.C. Cir. 1982).

        First, this litigation is about the constitutional rights to autonomy and privacy of “J.D.” and
those similarly situated pregnant unaccompanied immigrant minors in federal custody to obtain a
pre-viability abortion. The class action complaint seeks to prevent defendants, in light of “recently
revised nationwide policies,” from wielding an “unconstitutional veto power” over access to such
abortion in violation of the Fifth Amendment, by forcing those who, like J.D., request a pre-
viability abortion, to visit pre-approved anti-abortion crisis pregnancy centers, which require them,
in violation of the First and Fifth Amendments, to “divulge the most intimate details” of their lives,
and by notifying, without consent, parents or other family members of their request for an abortion.
Second Amended Compl. ¶¶ 3–7, 17, 21, 24, 26–27, 42–59 (Dec. 15, 2017); see also Pls.’ Reply
to Opp. To Mot. for Class Cert. 3, 6 (Nov. 27, 2017); Pls.’ Mem. in Support Mot. for TRO &
Prelim. Inj. 2, 4–8, 13 (Oct. 14, 2017). In this manner, pregnant unaccompanied immigrant minors
who seek pre-viability abortions can avoid both the unconstitutional burden under defendants’
practices and the necessity of repeated individual emergency proceedings in the district court and
on appeal. The injunction of defendants’ practices relieves class members of these burdens and
restores their rights to privacy and to choose whether to seek a pre-viability abortion. Avoiding
time-consuming litigation of individual cases may alleviate some of the emotional trauma inflicted
upon a group of especially vulnerable young women.

        Second, in the memorandum opinion accompanying the injunction, the district court
recounts defendants’ practices forced upon pregnant unaccompanied immigrant minors seeking
pre-viability abortions and relies repeatedly on Planned Parenthood of Southeastern Pennsylvania
v. Casey, 505 U.S. 833 (1992), most recently affirmed in Whole Woman’s Health v. Hellerstedt,
136 S. Ct. 2292 (2016), to conclude defendants “effectively prohibit[] class members from
‘making the ultimate decision’ on whether or not to continue their pregnancy prior to viability —
a quintessential undue burden.” Mem. Op. 24 (D.D.C. Mar. 30, 2018) (quoting Casey, 505 U.S.
at 879) (emphasis added). The district court does not refer to post-viability abortions because they
were not at issue. See, e.g., Pls.’ Reply in Support Mot. for Prelim. Inj. 6 (Oct. 18, 2017) (noting
that defendants’ delays in permitting abortions might “push[] J.D. so far into her pregnancy that
she would cross the line of viability” and no longer be eligible for abortion under Texas law).

        Nonetheless, defendants, in moving for a stay pending appeal, argue that the injunction
requires them “to facilitate abortion no matter the circumstances, without regard to fetal viability
or any other circumstance,” ignoring that “[a]fter viability, the government may regulate or even
proscribe abortion.” Defs.’ Mot. for Stay 18 (Apr. 9, 2018) (citing Casey, 505 U.S. at 879).
Regrettably, my colleague has joined defendants’ non-contextual misconception of the injunction
to conclude that an opinion on post-viability abortions is required. See Partial Dis. at 3. This
conclusion too is unfounded. The designated class representatives’ own circumstances involve
access to pre-viability abortions. See Mem. Op. 3–7. Further, as my colleague in concurrence
explains upon describing what the district court’s memorandum opinion does and does not say,
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offering an opinion on post-viability abortions would be advisory. Concurring Op. at 1–2
(Srinivasan, J.).
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        SRINIVASAN, Circuit Judge, concurring: The court today considers whether the
government has made the necessary showing to obtain a stay of the preliminary injunction pending
resolution of its underlying appeal. See Nken v. Holder, 556 U.S. 418, 433-34 (2009). Insofar as
the government seeks a stay of the entire injunction pending appeal, the court unanimously denies
the motion. The court is also unanimous in denying a stay of the injunction’s bar against disclosing
the “abortion decisions” of minors in the custody of the Office of Refugee Resettlement (ORR)
pursuant to ORR’s evident policy of disclosure without regard to the existence or availability of a
judicial bypass, except that the court—again unanimously—grants a partial stay of the non-
disclosure mandate to allow disclosure when a minor becomes incapacitated or gives consent.
Finally, the court once again is unanimous, except in one discrete respect, in denying a stay of the
injunction’s bar against ORR’s “interfering with or obstructing any class member’s access to . . .
an abortion.” Prelim. Inj. & Class Cert. Order 1, Garza v. Azar, 17-cv-02122-TSC (D.D.C. Mar.
30, 2018), ECF No. 127.

         The lone disagreement involves a single aspect of the access provision’s scope: does the
bar against interfering with access to an abortion pertain solely to pre-viability abortions, or does
it encompass post-viability abortions as well? A majority of the panel understands the injunction’s
abortion-access mandate to reach only pre-viability abortions, leaving the subject of post-viability
abortions unaddressed. My partially dissenting colleague, though, construes the injunction’s
access mandate to extend to all abortions, including post-viability ones. See infra at 1-2 (Griffith,
J., dissenting in part). That then leads him to pronounce on the extent to which ORR could restrict
a post-viability abortion allowed by state law, if a post-viability abortion in fact were to arise in
this case. He would hold that ORR has authority to prohibit a post-viability abortion (unless it is
medically necessary), and would stay the injunction insofar as it restrains ORR from doing so.

         There is no occasion here, however, to address any potential ORR restrictions on a post-
viability abortion allowed by state law, because the injunction’s access provision does not speak
to post-viability abortions in the first place. That understanding of the access provision is apparent
from its context—including, especially, the district court’s explanation of the basis for the
injunction in its accompanying opinion. When construing an injunction, it of course makes sense
to look to a district court’s “memorandum opinion accompanying the order [to] clarify its
meaning.” Common Cause v. Nuclear Regulatory Comm’n, 674 F.2d 921, 927 (D.C. Cir. 1982);
see United States v. Philip Morris USA Inc., 566 F.3d 1095, 1137 (D.C. Cir. 2009) (interpreting
injunction in “context of the district court’s legal conclusions and . . . findings of fact”). Here, the
district court’s accompanying opinion shows—repeatedly, and consistently—that the injunction’s
bar against interfering with access to abortion pertains solely to pre-viability abortions.

        First, consider what the district court’s opinion says. In setting forth why the court believed
the plaintiffs were likely to succeed on the merits of their challenge to ORR’s policies, the opinion
explains that an “undue burden exists” when the “effect is to place a substantial obstacle in the
path of a woman seeking an abortion before the fetus attains viability.” Mem. Op. 23 (D.D.C.
Mar. 30, 2018), ECF No. 126 (quoting Planned Parenthood of Se. Pa. v. Casey, 505 U.S. 833, 878
(1992) (plurality)) (emphasis added). Then, in its most significant statement setting out the court’s
rationale for granting injunctive relief, the opinion announces the “basic proscription” that
“controls the outcome in this case”: the “unequivocal constitutional command” that “the
government ‘may not prohibit any woman from making the ultimate decision to terminate her
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pregnancy before viability.’” Id. (quoting Casey, 505 U.S. at 879 (plurality)) (emphasis added).
Reemphasizing the point still further, the opinion later “concludes that ORR’s policies and
practices infringe on female [unaccompanied minors’] constitutional rights by effectively
prohibiting them from ‘making the ultimate decision’ on whether or not to continue their
pregnancy prior to viability—a quintessential undue burden.” Id. at 24 (quoting Casey, 505 U.S.
at 879 (plurality)) (emphasis added). At every turn, in short, the opinion grounds the injunction’s
abortion-access mandate entirely (and exclusively) in the context of pre-viability abortions.

        Consider, also, what the opinion does not say. In contrast with its numerous statements
about pre-viability abortions, the opinion contains no mention of post-viability abortions. It is of
course true, as my colleague notes, infra at 1-2 (Griffith, J., dissenting in part), that the opinion
generally relies on the Supreme Court’s decision in Casey. And Casey in turn states that,
“subsequent to viability, the State in promoting its interest in the potentiality of human life may,
if it chooses, regulate, and even proscribe, abortion except where it is necessary, in appropriate
medical judgment, for the preservation of the life or health of the mother.” 505 U.S. at 879
(plurality) (quoting Roe v. Wade, 410 U.S. 113, 164-65 (1973)). But the district court, in its
opinion, did not reference that aspect of Casey, evidently believing it irrelevant to the basis for
granting interim relief. That is unsurprising given that the plaintiffs likewise did not mention that
portion of Casey—or even once refer to the subject of post-viability abortions—in their filings
seeking a preliminary injunction. E.g., Pl.’s Mem. in Support Mot. for Prelim. Inj. 9 (D.D.C. Oct.
14, 2017), ECF No. 5-1 (relying on right to terminate pregnancy without undue burden “before
viability”). The government, for its part, did note Casey’s statements about post-viability abortions
in its arguments to the district court. See infra at 2 (Griffith, J., dissenting in part). But the
arguments of a party whose position is then rejected by a court that enters an injunction against it
are not a reliable indicator of the injunction’s meaning. Better to look directly to the court’s own
explanation for issuing the injunction, supplemented by the arguments of the party who
successfully sought it. See Common Cause, 674 F.2d at 927 (interpreting injunction in context of
“the relief sought by the moving party” (citation omitted)).

         That party here is the plaintiffs. My colleague suggests that they should be interested in
vindicating their right to access not only a pre-viability abortion, but also a post-viability abortion
that “is necessary, in appropriate medical judgment, for the preservation of the life or health of the
mother.” Stenberg v. Carhart, 530 U.S. 914, 921 (2000) (quoting Casey, 505 U.S. at 879
(plurality)); see infra at 2 (Griffith, J., dissenting in part). The plaintiffs, however, could seek
interim relief pertaining to the matter centrally at hand, and the district court could fashion its relief
accordingly. After all, to say that the injunction’s access provision stops at pre-viability abortions
is not to say that constitutional protections stop there. Regardless of whether the injunction’s
access provision itself extends to post-viability abortions, the Supreme Court has established that
constitutional protections apply to post-viability abortions supported by medical necessity. Id. To
the extent a post-viability abortion related to medical necessity were to arise in this case, and if
ORR were to attempt to restrict it, the plaintiffs could seek relief at that time.

        So where does all of this leave us in terms of understanding the preliminary injunction’s
bar against ORR’s “interfering with or obstructing any class member’s access to . . . an abortion”?
It should lead us to conclude (as the court today does) that the injunction prohibits only interference
with access to pre-viability abortions, per the district court’s explanation in its opinion. To be sure,
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the injunction’s terms do not specifically say that the access requirement pertains only to pre-
viability abortions. But the context makes that intended scope apparent. And there is of course
no cause to construe an injunction’s restrictive sweep to have the broadest possible reach its
language can conceivably bear. Rather, we would ordinarily understand an injunction’s scope to
cohere with the justifications advanced in support of it, not to extend beyond them so as to impose
broader constraints on the enjoined party (here, the government) than is warranted. See, e.g., Doe
v. Mattis, Nos. 18-5032, 18-5110, 2018 WL 2126393, at *4 (D.C. Cir. May 7, 2018).

         In contending that the court is wrong to interpret the injunction’s access mandate as limited
to pre-viability abortions, my colleague believes that interpretation to be incongruous with the
definition of the plaintiffs’ class. See infra at 2 (Griffith, J., dissenting in part). The class consists
of all pregnant, unaccompanied minors in ORR’s custody. Prelim. Inj. & Class Cert. Order 1. The
injunction’s access provision, as understood by the court today, reaches those class members who
seek a pre-viability abortion. My colleague thinks it implausible that the injunction’s access
provision could have a narrower reach than the entire class. I disagree.

        There is no need for a complete identity between the members of the class, on one hand,
and the beneficiaries of the injunction’s access mandate, on the other hand. Those can be
conceptually distinct matters, as my colleague ultimately allows. The purpose of a preliminary
injunction is to “protect plaintiff[s] from irreparable injury and to preserve the court’s power to
render a meaningful decision after a trial on the merits.” 11A Wright & Miller, Federal Practice
and Procedure § 2947 (3d ed. 2018). Depending on the circumstances, the need for interim relief
to preserve the status quo might be most pronounced—or, indeed, might only exist—for a subset
of the class. See Reynolds v. Sheet Metal Workers, Local 102, 702 F.2d 221, 222, 225-26 (D.C.
Cir. 1981) (upholding grant of a preliminary injunction to a subset of a class pending final
resolution of the broader class’s claims). Here, with regard to the preliminary injunction’s
provision protecting access to an abortion, the district court awarded interim relief to those class
members who would seek a pre-viability abortion, consistent with the scope of the undue-burden
right on which the court relied. Other aspects of the injunction aside from the abortion-access
provision, meanwhile, could extend more directly to a broader array of class members.

        The upshot is that the preliminary injunction’s bar against interfering with access to an
abortion does not speak to the hypothetical circumstance of a class member’s post-viability
abortion. It follows that there is no occasion here to address ORR’s authority to prohibit a post-
viability abortion, in the event the issue were to arise. To the extent a class member might someday
seek to obtain a post-viability abortion in a state that allows it, and if ORR were then to bar the
abortion, nothing in the preliminary injunction’s access provision would speak to the matter.

        My colleague, though, would reach out to resolve that issue now. He submits that the
government would like to know the extent of ORR’s authority to prohibit a post-viability abortion.
See infra at 3 (Griffith, J., dissenting in part). It is true that the government’s motion states that
the injunction’s access mandate is overbroad to the extent it reaches post-viability abortions. Gov’t
Stay Motion 18. (The plaintiffs did not specifically respond to the point, perhaps assuming—
correctly—that the access provision has no bearing on post-viability abortions.) The government,
however, did not (and could not) ask for an advisory opinion about its authority to restrict post-
viability abortions regardless of whether the access provision even speaks to them. Because the
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court today clarifies that the access provision does not pertain to post-viability abortions, the
government now knows that its ability to prohibit such abortions is unaffected by the injunction’s
access mandate. (And because the fact that the access provision reaches only pre-viability
abortions is enough to establish that it has no bearing on ORR’s potential restriction of a post-
viability abortion, I do not consider whether the underlying class action is confined to pre-viability
abortions. See supra at 1 (Rogers, J., concurring).)

        In short, whether ORR could prohibit a post-viability abortion permitted by state law is not
presented by the case as it comes to us, which means we should forgo addressing the issue in an
advisory opinion. If the issue does arise in this case, the parties could present any dispute about it
at that time. In that regard, it bears noting that there is no reason to assume the issue will
necessarily come up in the case: post-viability abortions generally make up a very small share of
abortions, see Tara C. Jatlaoui et al., Dep’t of Health & Human Servs., Abortion Surveillance,
United States, 2014, tbls. 7 & 20, https://www.cdc.gov/mmwr/volumes/66/ss/ss6624a1.htm; see
also Gonzalez v. Carhart, 550 U.S. 124, 134-35 (2007); and a sizable majority of states disallow
post-viability abortions unsupported by medical necessity, Kaiser Family Found., State Later-
Term Abortion Policies, https://www.kff.org/womens-health-policy/state-indicator/later-term-
abortions (last updated Jan. 1, 2018).

        Does the court’s resolution today, in considering post-viability abortions to be beyond the
scope of the issues before us, shortchange the governmental interest in potential life? See infra at
3 (Griffith, J., dissenting in part). Respectfully, it does not. Casey recognized “a substantial state
interest in potential life throughout pregnancy.” 505 U.S. at 876 (plurality). The Supreme Court
has further explained, as noted, that after viability, “the State in promoting its interest in the
potentiality of human life may, if it chooses, regulate, and even proscribe, abortion except where
it is necessary, in appropriate medical judgment, for the preservation of the life or health of the
mother.” Stenberg, 530 U.S. at 921 (quoting Casey, 505 U.S. at 879 (plurality)). Nothing in
today’s disposition disregards those principles.

        Rather, the court determines that the issue of ORR’s own authority to prohibit a post-
viability abortion allowed by state law is not presented by the stay motion we consider today. We
therefore have no cause to pronounce on the issue, no matter how straightforward (or complicated)
its resolution could prove to be. See infra at 3 (Griffith, J., dissenting in part); cf. Gov’t Stay
Motion 21 (listing various “highly relevant” factors that, in government’s view, determine whether
“the due process clause would compel ORR to facilitate an abortion” in a given instance, including
“whether the abortion would violate state law” and “whether viability has been reached”). Because
the preliminary injunction’s access provision speaks solely to pre-viability abortions, the prospect
of a class member seeking a post-viability abortion allowed by state law—and of ORR then
potentially restricting her from doing so—are matters appropriately left for another day.
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     GRIFFITH, Circuit Judge, dissenting in part: The majority has made the government’s motion
to stay the preliminary injunction more complicated than it is. My view is that we should do no
more nor less than stay the injunction to the extent it is unlawful under Planned Parenthood of
Southeastern Pennsylvania v. Casey, 505 U.S. 833 (1992).

     The preliminary injunction contains two provisions that the panel agrees are facially
overbroad. First, its non-disclosure provision prevents the Office of Refugee Resettlement (ORR)
from “revealing [abortion] decisions to anyone,” without any exception for emergency medical
circumstances. I join the majority in staying this provision to the extent it does not provide an
emergency medical exception. Second, the injunction’s abortion-access provision bars ORR from
“interfering with or obstructing any class member’s access to . . . an abortion.” This provision is
overbroad as well because it would require ORR to facilitate abortions under any circumstance,
and not even U.S. citizens have an abortion right that absolute. After an unborn child reaches
viability, the government may “regulate, and even proscribe, abortion except where it is necessary,
in appropriate medical judgment, for the preservation of the life or health of the mother.” Stenberg
v. Carhart, 530 U.S. 914, 921 (2000) (quoting Casey, 505 U.S. at 879 (plurality opinion)). Just as
we stayed part of the non-disclosure provision, I would also stay that part of the abortion-access
provision that disregards the Casey framework.

      But the majority eschews such a straightforward approach. Instead of staying the overreach
of this provision, they narrow the scope of the injunction itself by interpreting “abortion” to mean
“pre-viability abortion.” While I am not opposed to interpreting an injunction in light of its context,
the majority’s saving construction here is unpersuasive. For that reason, I would treat the abortion-
access provision just as we did the non-disclosure provision, staying it to the extent it exceeds the
right established by the Supreme Court.

                                          *       *       *

     When its terms are unclear, we may interpret an injunction through the lens of the district
court’s accompanying opinion and the arguments advanced by the parties. See, e.g., Common
Cause v. Nuclear Regulatory Comm’n, 674 F.2d 921, 927 (D.C. Cir. 1982) (“[T]he fair notice
requirement of Rule 65(d) must be applied in the light of the circumstances surrounding (the
injunction’s) entry: the relief sought by the moving party, the evidence produced at the hearing on
the injunction, and the mischief that the injunction seeks to prevent.” (internal quotation marks
omitted)). Here, the district court relied on Casey to support the injunction against ORR, and the
parties invoked Casey to vindicate their interests. The district court cited Casey throughout its
opinion. See, e.g., Garza v. Hargan, No. 17-2122, 2018 WL 1567600, at *22-27 (D.D.C. Mar. 30,
2018); see also supra at 2 (Srinivasan, J., concurring). The plaintiffs argued for their Fifth
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Amendment right to an abortion under Casey. See, e.g., Pl. Complaint at 2, 12-13, Garza, No. 17-
2122, ECF No. 1; Pl. Second Amended Complaint at 2, 15-16, Garza, No. 17-2122, ECF No. 104;
Pl. Response Mot. for Stay Pending Appeal at 15, Garza, No. 17-2122, ECF No. 79 (citing Casey).
The government advocated for its “legitimate and substantial interest in preserving and promoting
fetal life.” Gonzales v. Carhart, 550 U.S. 124, 145 (2007); see, e.g., Gov’t Mot. to Stay at 18-19,
Garza v. Azar, No. 18-5093, Apr. 9, 2018. And on numerous occasions throughout the litigation
the government expressly invoked the full Casey framework. See, e.g., Gov’t Opp. to Mot. For
TRO at 7-8, Garza, No. 17-2122, ECF No. 66.

     Which is why I am confused that the majority’s interpretation does not adopt the full Casey
framework and instead reads the injunction to address only pre-viability abortions. The plaintiffs
have never argued that they are seeking relief only for pre-viability abortions. Indeed, they don’t
even mention “viability” in their response to the government’s motion to stay. Why would they?
Under Casey the right to an abortion exists after viability if medically necessary to protect the life
or health of the mother. But the majority’s version of the litigation, which they use to save an
overly broad injunction from a stay, would have us believe that the plaintiffs are interested only in
protecting some but not all of their right to an abortion under Casey. It seems plain to me that an
effort to interpret the injunction in light of the litigation should find that the district court’s order
enjoins ORR’s interference with those abortions that are included within the right defined by
Casey, and that includes some post-viability abortions.

     It also seems implausible that the injunction addresses abortion access for only a portion of
the class, which is “all pregnant, unaccompanied immigrant minor children (UCs) who are or will
be in the legal custody of the federal government.” Garza, 2018 WL 1567600, at *1 (emphasis
added). A straightforward reading would assume the injunction reaches all members of that class,
who by definition are similarly situated to one another. Interpreting the injunction in light of Casey
would tell all members of the class on which occasions ORR must subordinate its policies to their
rights. Even if injunctions sometimes do not reach the interests of all class members, see supra at
3 (Srinivasan, J., concurring), neither party nor the district court suggests that is the case here. I
struggle to see why the majority assumes it is.

     The majority’s interpretation is also hard to square with the logic of Casey itself. By applying
only part of the Casey framework, the majority overlooks that Casey “struck a balance” between
a woman’s right to choose abortion and the government’s “legitimate and substantial interest” in
protecting unborn life. Gonzales, 550 U.S. at 145-46. That “balance was central to its holding.” Id.
at 146. By relying on rights established by Casey, the parties and the district court necessarily
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acknowledged that after viability the government’s interest in unborn life supersedes the right to
an elective abortion.

     My colleagues think we do not need to decide whether the government may proscribe
plaintiffs’ access to abortion after viability. In a sense, I agree. We need not decide that question
because the Supreme Court already has. We need only apply the binding precedent agreed to by
the parties: absent medical concerns for the life or health of the mother, the government may
proscribe abortion after viability. Despite this controlling precedent, the majority refuses to
acknowledge the government’s interest in “fetal life.” The Casey framework was premised on
recognizing two sets of interests. The majority recognizes only one.

     Further, the majority’s approach leaves unanswered an important part of the government’s
stay request. Given the overly broad language in the injunction, the government understandably
asks us to clarify which ORR policies it may continue to enforce during the next several months
while the appeal is pending. Specifically, the government argues that under Casey it must be
allowed to vindicate its interests in protecting unborn life by banning elective abortions after
viability. See Gov’t Mot. to Stay at 18-19, Garza, No. 18-5093. The majority gives an evasive
response, leaving the government to guess at which policies it may enforce between now and
resolution of the appeal. Considering that “timing profoundly matters,” Garza v. Hargan, at 7
(D.C. Cir. Oct. 20, 2017) (Millett, J., dissenting), rev’d en banc, 874 F.3d 735 (D.C. Cir. Oct. 24,
2017) (mem.), vacated sub nom. Azar v. Garza, No. 17-654 (U.S. June 4, 2018), when a woman
seeks an abortion, particularly if the procedure is necessary for her life or health, this is no occasion
to shrink from the question presented. *

                                            *       *        *

     Interpreting the injunction narrowly might have saved it from a stay, but the majority’s
interpretation is unpersuasive. It does not reflect the established rights under Casey on which the

     *
       My colleague cites data to suggest that minors in ORR custody might never seek post-viability
abortions. See supra at 4 (Srinivasan, J., concurring). Table 20 of that document shows that the percentage
of post-viability abortions is 7.3% for young women under 15 years old and 2.3% for young women
between 15 and 19. I am surprised at the suggestion that the abortion rates for the general U.S. population
are somehow representative of the abortion rates for the class members, who are young children in a foreign
country without their parents, and I’m skeptical that the cited generic data can inform our decision today.
And even if only a small percentage of the class seeks post-viability abortions, we would still have a duty
to address the pressing question before us.
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parties and district court relied. I would treat the injunction’s overbroad abortion-access provision
the same way we unanimously agreed to treat the overbroad non-disclosure provision and stay the
portion that sweeps beyond the plaintiffs’ lawful basis for relief. I respectfully dissent.
